Case 2:19-cv-02056-PKH-MEF Document 72               Filed 10/27/21 Page 1 of 1 PageID #: 172




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 FORT SMITH DIVISION

 BROOKE NICOLE DAMIAN                                                               PLAINTIFF

 v.                                   No. 2:19-CV-02056

 DEPUTY CHINA WEBB (Sebastian County
 Detention Center)                                                                DEFENDANT

                                             ORDER

        The Court has received a report and recommendation (Doc. 71) from Chief United States

 Magistrate Judge Mark E. Ford. Plaintiff has not filed objections and the deadline to object has

 passed. The Magistrate recommends that summary judgment be granted on Plaintiff’s claims

 against Defendant Webb in her official capacity. The Magistrate further recommends that

 Plaintiff’s claims against Defendant Webb in her personal capacity should remain for further

 review. The Court has carefully reviewed the report and recommendation and agrees with the

 Magistrate Judge.

        IT IS THEREFORE ORDERED that the report and recommendation (Doc. 71) is

 ADOPTED IN FULL. Plaintiff’s claims against Defendant Webb in her official capacity are

 DISMISSED WITH PREJUDICE as recommended by the Chief Magistrate Judge. Plaintiff’s

 other claims remain pending, and this case remains referred.

        IT IS SO ORDERED this 27th day of October, 2021.


                                                            /s/P. K. Holmes, ΙΙΙ
                                                            P.K. HOLMES, III
                                                            U.S. DISTRICT JUDGE
